     Case 1:19-cv-24624-MGC Document 3 Entered on FLSD Docket 11/07/2019 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                   JOSE LUIS ARREOLA                                 )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 19-CV-24624
                                                                     )
  RECEIVABLE MANAGEMENT GROUP, INC., and                             )
          INTELLIRAD IMAGING, LLC                                    )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) RECEIVABLE MANAGEMENT GROUP, INC.
                                           c/o KAPPLEMAN, MICHELLE H
                                           18142 27TH ST
                                           MIRAMAR, FL 33029




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: The Law Offices of Jibrael S. Hindi, PLLC. 110 SE 6th St., Suite 1744, Fort
                                           Lauderdale, FL 33301. Phone: (844)542-7235 Email: jibrael@jibraellaw.com Fax:
                                           (855)529-9540




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


                  11/07/2019                                                                        s/ Dimas Rodriguez
Date:
                                                                                         Signature of Clerk or Deputy Clerk
